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                          UNITED STATES DISTRICT COURT
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                        SOUTHERN DISTRICT OF CALIFORNIA
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 11
      Tyanna Walker, Samantha Sanchez, Terry        CASE NO. 19-cv-347 LAB JLB
 12   Hunt, Joe Cardenas, Vladimir Tejada,
      Roberto Huerto, and Michelle Rice on          Hon. Larry Alan Burns
 13   behalf of themselves and of others            Courtroom 14A
      similarly situated,
 14
                                 Plaintiffs,
 15                                                 ORDER
                           v.
 16
      The Control Group Media Company, Inc.;
 17   Instant Checkmate, LLC; TruthFinders,
      LLC,
 18                     Defendants.
 19

 20         The Joint Motion to Dismiss Without Prejudice (Docket no. 24) is

 21   GRANTED.

 22         It is ADJUDGED by consent that Plaintiffs are bound by the mandatory

 23   arbitration and class action waiver provisions set forth in Defendants’ website terms

 24   of use and thus their claims must be brought in the claimants’ individual capacity

 25   and not in a representative or class capacity before an arbitrator from the American

 26   Arbitration Association.

 27   ///

 28   ///


                                                                                  ORDER
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  1        All other pending motions are DENIED AS MOOT WITHOUT
  2   PREJUDICE.
  3

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  5   Dated : September 30, 2019        ___________________________
  6
                                        Hon. Larry Alan Burns
                                        Chief United States District Judge
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                                                                             ORDER
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